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                               BEFORE THE JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION


        In re: BLUE CROSS BLUE SHIELD       )
        ANTITRUST LITIGATION                )                         MDL. 2406
        ____________________________________)

        This filing relates to the following case only:

        Chicoine et al. v. Wellmark, Inc. d/b/a Wellmark
        Blue Cross and Blue Shield of Iowa, et al.,
        S.D. Iowa, Case No. 4:17-cv-00210


         MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-32)


        COME NOW, Plaintiffs in Chicoine et al. v. Wellmark, Inc. d/b/a Wellmark Blue Cross

and Blue Shield of Iowa, et al., U.S. District Court for the Southern District of Iowa Case No.

4:17-cv-00210 (“S.D. Iowa Case”) and, pursuant to Rule 7.1(f) of the Rules of Procedure of the

United States Judicial Panel on Multidistrict Litigation (“JPML”), hereby move this Panel to

vacate the Conditional Transfer Order (CTO-32) entered on June 20, 2017, [Doc. 366] for

transfer to the United States District Court for the Northern District of Alabama. In support

thereof, Plaintiffs state the following:

        1.      On October 5, 2015, Iowa-licensed Plaintiff chiropractors filed this putative class

action in the Iowa District Court for Polk County, Case No. CVCV050638 (“Iowa District

Court”) against Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa,

and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) alleging conspiracy in Iowa to

discriminate against Iowa chiropractors in the form of price fixing and coverage limitations in

violation of the Iowa Competition Act, Iowa Code § 553.4. The Defendants are both Iowa

corporations. The class Plaintiffs propose to represent are all Iowa citizens. Plaintiffs do not



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assert violations of the Sherman and Clayton Acts. (See Petition and First Amendment to Petition

attached as Exs. 1, 3).

       2.      Blue Cross and Blue Shield Association (“BCBSA”), a non-Iowa citizen, is not a

named defendant. BCBSA has merely sought intervention in the Iowa District Court on June 14,

2017 (Ex. 4), and then on the same day, Wellmark defendants filed a notice of removal in clear

violation of 28 U.S.C. § 1446(b)(1) (Ex. 5). There is no federal jurisdiction for the S.D. Iowa

Case. The operative Iowa District Court petition (Exs. 1, 3) filed before the notice of removal

does not contain allegations of BCBSA horizontal territorial allocation and does not attack the

validity of BCBSA’s trademarks, underlying licensing system or its national BlueCard Program.

Plaintiffs have a pending Motion to Remand in the S.D. Iowa Case (Ex. 6) and have resisted

BCBSA’s intervention request (Ex. 9).

       3.      The Wellmark defendants moved to stay all proceedings in the Southern District

of Iowa until the JPML determines whether to transfer the case to the Northern District of

Alabama for consolidated and coordinated pretrial proceedings under the Rules of Procedure of

JPML (Ex. 7). Plaintiffs agreed to a stay pending this Panel’s transfer determination while

maintaining their contention of lack of federal jurisdiction both in the Southern District of Iowa

and before this Panel (Ex. 8).

       4.      Plaintiffs object to the underlying basis stated in CTO-32 because their action—

which solely centers on conspiratorial and discriminatory price fixing treatment of Iowa

chiropractors in Iowa by Iowa actors in violation of Iowa law—does not involve common

questions of fact with the consolidated action in the Northern District of Alabama. As detailed in

their supporting brief filed concurrently with this motion, the actions do not present common




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factual questions, and Section 1407 does not support transfer. The stark differences between the

actions show that transfer would not serve the objectives of efficiency and convenience.

       5.      Moreover, the Wellmark defendants’ and BCBSA’s thinly-veiled objective is to

manufacture diversity jurisdiction in order to circumvent the Iowa Supreme Court’s refusal to

stay the Iowa District Court case pending proceedings in MDL 2406. The Iowa Supreme Court

weighed similar factors relevant to this Panel’s determination to transfer and found “considerable

differences” between the actions and that staying Plaintiffs’ case would harm their interest in

“prompt and complete justice.” See generally Chicoine v. Wellmark, Inc., 894 N.W.2d 454, 456,

461 (Iowa 2017) (Ex. 2). Not only is transfer unwarranted under Section 1407, but also vacating

CTO-32 will show that the Panel does not condone this kind of gamesmanship.

       6.      This Motion to Vacate is supported by the accompanying brief, exhibits and

schedule.

Date: July 7, 2017
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                                              ATTORNEYS FOR PLAINTIFFS CHICOINE ET
                                              AL. IN CASE NO. 4:17-cv-00210 BEFORE THE
                                              U.S. DISTRICT COURT FOR THE SOUTHERN
                                              DISTRICT OF IOWA


                                 CERTIFICATE OF SERVICE

I hereby certify that on the 7th day of July, 2017, a copy of the foregoing was electronically filed
with the Judicial Panel on Multidistrict Litigation by using the CM/ECF system on behalf of
Plaintiffs Bradley A. Chicoine, D.C., Mark A. Niles, D.C., Rod R. Rebarcak, D.C., and Ben
Winecoff, D.C., on behalf of themselves and those like situated, and Steven A. Mueller, D.C.,
Bradley J. Brown, D.C., Mark A. Kruse, D.C., Kevin D. Miller, D.C., and Larry E. Phipps, D.C.,
on behalf of themselves and those like situated, which will send notice of electronic filing to
counsel for all parties of record: Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and
BlueShield of Iowa and Wellmark Health Plan of Iowa, Inc., and Applicant Intervenor Blue
Cross Blue Shield Association.

Date: July 7, 2017

                                      /s/ Steven P. Wandro
                                      Steven P. Wandro




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